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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


     Shannon Muldrow,
     17248 Breeders Cup Drive
     Odessa, FL 33556
                                                 CIVIL ACTION NO.
     Plaintiff
                                                 JURY DEMANDED
     v.

     William Barr,
     Attorney General of the United States,
     named in his Official Capacity, and
     head of the Department of Justice

     U.S. Department of Justice
     950 Pennsylvania Avenue, NW
     Washington, DC 20530-0001

     Defendant.




                                      COMPLAINT

1.        Plaintiff, Shannon Muldrow, through the undersigned attorneys, respectfully

alleges as follows:

                                 NATURE OF ACTION

2.        This is a civil action seeking monetary damages and declaratory and injunctive

relief, brought on behalf of Shannon Muldrow, a female Special Agent with the

Federal Bureau of Investigation (FBI) in the Tampa Field Office, for disparate impact
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on the basis of sex, disparate treatment on the basis of sex, and retaliation in violation

of Title VII of the Civil Rights Act of 1964.

                          JURISDICTION AND VENUE
3.     Jurisdiction is proper in this court in that the district courts have original

jurisdiction over Title VII under 28 U.S.C. § § 1331 and 1343 and 42 U.S.C. § 2000e-

5(f)(3), because they arise under the laws of the United States and are brought to

recover damages for deprivation of civil rights.

4.     Venue is proper in this judicial district under 28 U.S.C. § §1391(b)-(c) and 42

U.S.C. § 2000e5(f)(3), because Defendant’s headquarters is located in this district, the

personnel records relevant to this case are in this district, and the personnel practices

challenged herein were directed or supervised by Defendant in this district.

                         ADMINISTRATIVE PROCEDURE

5.     Plaintiff Shannon Muldrow has exhausted her administrative remedies prior to

bringing this suit in that the Plaintiff has filed timely charges of discrimination.

6.     On September 12, 2019, Special Agent Muldrow timely sought informal

resolution of her claims of discrimination based on sex and parental status, as well as

for personal favoritism and non-merit facts, with the FBI Office of Equal Employment

Opportunity Affairs (OEEOA). Those informal efforts were not successful.

7.     On or about October 16, 2019, Special Agent Muldrow timely filed a

discrimination complaint with the FBI OEEOA for discrimination based on sex and

parental status (First EEO Complaint).




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8.    More than 180 days have passed since the filing of the first complaint and the

OEEOA has taken no action on that case since that filing.

9.    On January 16, 2020, Special Agent Muldrow timely notified EEO Counselor

Williams of continued retaliatory action taken by Assistant Special Agent in Charge

(ASAC) Kristin Rehler, unknown members of an LCB, and Special Agent in Charge

(SAC) Michael McPherson, and sought informal resolution. Informal resolution

efforts were not successful.

10.   On February 24, 2020, Special Agent Muldrow filed a Discrimination

Complaint with the EEO (Second EEO Complaint). The retaliatory actions and events

giving rise to the filing of the Second EEO Complaint relate to the LCB process for the

Squad 9 SSA position and ASAC Rehler’s role as Chairperson for the LCB.

11.   More than 180 days have passed since the filing of the second complaint and

the OEEOA has taken no action on that case since that filing.

12.   Plaintiff timely filed a third, related complaint before the OEEOA on June 12,

2020. Although the 180-day period has not yet elapsed, the allegations are related and

arise out of the same set of operative facts as the first two complaints, making those

allegations properly included and alleged in this Complaint.

                                      PARTIES

13.   Defendant William Barr is the Attorney General of the United States, and is

sued here in his official capacity as head of the Federal Bureau of Investigation.




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14.   Plaintiff Shannon Muldrow (referred to herein as “Plaintiff” or “Special Agent

Muldrow”) is a female resident of the State of Florida and is employed by the FBI as

a Special Agent, assigned to the Tampa Field Division.

                          FACTUAL BACKGROUND

                  SPECIAL AGENT SHANNON MULDROW

15.   Plaintiff Shannon Muldrow is a female Special Agent with the FBI, with a

distinguished record during her more than 20-year career with the Bureau. Special

Agent Muldrow earned a Bachelor of Arts degree in two majors, Political Science and

History, cum laude, from the State University of New York at Buffalo in 1993. Special

Agent Muldrow earned a law degree (Juris Doctor) in 1996 from the University of

Buffalo School of Law. After graduating from law school, Special Agent Muldrow

took and passed both the New York and Florida bars, and remains a member of both

the New York and Florida bars.

16.   After passing the New York and Florida bars and until April 1998, Special

Agent Muldrow practiced law in the private sector in Buffalo, New York. From April

1998 to November 1999, Special Agent Muldrow served as an Assistant State Attorney

at the Broward County State Attorney’s Office, leaving that position for the FBI

(December 1999) and to attend the FBI Academy in Quantico, Virginia. In 2000,

Special Agent Muldrow graduated from the FBI Academy and was assigned to the

Tampa Field Division.




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17.   From April 2000 to April 2001, Special Agent Muldrow was assigned to Squad

5, in Tampa, whose programs included Organized Crime (Transnational Organized

Crime Western Hemisphere), Drugs, and Violent Crime.

18.   From May 2001 to May 2004, Special Agent Muldrow was assigned to the

Sarasota Resident Agency (Operation Panama Express), which was under the

Programs    of   Organized    Crime       (Transnational   Organized   Crime   Western

Hemisphere). Special Agent Muldrow also worked on terrorism matters, including

working in the Military Liaison and Detainee Unit (May to June 2003).

19.   In 2003, Special Agent Muldrow married and her spouse was employed at the

time, and until September 2019, by the United States Attorney’s Office in Tampa.

From October 2019 to the present, Special Agent Muldrow’s spouse has been serving

in the United States Attorney’s Office for the District of Puerto Rico. Special Agent

Muldrow and her spouse have three minor children. Special Agent Muldrow is the

primary and maternal caregiver for her three minor children, including a child with

special learning challenges (dyslexia).

20.   From June 2004 to April 2005, Special Agent Muldrow was assigned to the

Field Intelligence Group (FIG), which covered all FBI programs.

21.   From May 2005 to March 2019, Special Agent Muldrow was assigned to the

Pinellas Resident Agency (PRA), where she handled a variety of programs including

White Collar Crime (Health Care Fraud, Identity Theft, and Money Laundering),

Public Corruption, Civil Rights, Terrorism, and Organized Crime.




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22.   During a portion of her service at PRA, Special Agent Muldrow served as one

of the Relief Supervisors and, as such she acted in a supervisory role when the

Supervisory Special Resident Agent (SSRA) was out of the office.

23.   Special Agent Muldrow also served as the Acting Supervisory Special Resident

Agent (A/SSRA) for PRA for 72 days from November 2018 to January 2019. During

that period, Special Agent Muldrow, among other things, met with leaders in local law

enforcement, improved relations with law enforcement partners, implemented a

Threat to Life protocol and ran a PRA awards ceremony for law enforcement partners.

The FBI recognized Special Agent Muldrow’s performance as A/SSRA with a

Citation for Special Achievement.

24.   From March 2019 to the present, Special Agent Muldrow has been assigned to

Squad 10 in Tampa, which handles the White-Collar Crime program (Health Care

Fraud, Identity Theft, and Money Laundering), including serving as a Relief

Supervisor. From February 25, 2020, to the present, Special Agent Muldrow has been

assigned to be the PRS for Squad 10. During the period from March 20, 2020 to April

2, 2020, and on other specific dates, Special Agent Muldrow served as the Acting

Supervisory Special Agent (A/SSA) for Squad 10.

25.   From July 8, 2020, to August 5, 2020, Special Agent Muldrow worked in San

Juan, Puerto Rico, on a Specialty TDY at the San Juan Field Office.

26.   Throughout Special Agent Muldrow’s career, she has consistently received

positive and favorable performance ratings, to include outstanding and exemplary

performance ratings.


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27.   Throughout Special Agent Muldrow’s career with the FBI, she earned and has

maintained an outstanding reputation with, among others, law enforcement

colleagues and partners, prosecutors and support staff at the United States Attorney’s

Office for the Middle District of Florida, defense counsel, and members of the judiciary

in the Middle District of Florida.

                            SPECIALIZED TRAINING

28.   Throughout Special Agent Muldrow’s career she has participated in specialized

training and conferences, both as a student and a presenter, including, but not limited

to, the following: (1) Continuing Legal Education (CLE) for the New York and/or

Florida bars (1996 to present); (2) Basic Money Laundering in-service (2000); (3)

Survival Awareness in-service (2001); (4) Advanced Money Laundering (2001); (5)

The Reid Technique of Interviewing and Interrogation Course (2002); (6) National

Crisis Negotiation Course (2003); (7) Asset Informant Conference (2004); (8) Basic

Health Care Fraud in-service (2005); (9) National Health Care Anti-Fraud Association

(NHCAA) Conference (2008); (10) NHCAA Conference (2010); (11) Instructor

Development Course (2011); (12) Legal Advisor Certification Course (2011); (13)

NHCAA Conference (2013); and (14) Special Agent Assessor Orientation Training

(2019).

                            AWARDS & COMMENDATIONS

29.   During her service as a Special Agent in the Tampa Field Division, Special

Agent Muldrow has earned, among others, the awards, commendations, and

nominations for awards and commendations listed below.


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(1)    Nominated: Rookie of the Year (2000);

(2)    Between 2001 and 2004, the period at the Sarasota Resident Agency
       (Operation Panama Express), awarded an FBI Certificate of
       Achievement (2001); FBI Certificate of Achievement: National Drug
       Control Strategy Resulting in Record Cocaine Seizures for Years 2000,
       2001, and 2002 (2003); FBI Certificates of Commendation for Source
       Recruitment and Development (2003); FBI Certificate of Commendation
       (PanEx Case); and U.S. Interdiction Coordinator National Award.
       Nominated: FBI Director’s Award and the Department of Justice’s
       Attorney General Award;

(3)    Nominated: FBI Quality Step Increase Award (2004);

(4)    Five Outstanding Law Enforcement Officer Awards, U.S. Attorney’s
       Office for the Middle District of Florida (2012, 2015, 2016, 2017, and
       2018);

(5)    Nominated: DOJ Attorney General Award; received FBI Incentive
       Award (Approx. 2013);

(6)    FBI Citation for Special Achievement (2015);

(7)    Tampa Region Financial Crimes and Inspectors General Council,
       Special Achievement Award for Teamwork (2015);

(8)    Four Tampa Region Financial Crimes and Inspectors General Council,
       Special Achievement Awards for Case of the Year (2016, 2017, 2018, and
       2019);

(9)    Health and Human Services, Office of Inspector General, Exceptional
       Achievement Award (2016);

(10)   Tampa Region Financial Crimes and Inspectors General Council,
       Special Achievement Award for Significant Contributions (2016);

(11)   Medal of Excellence, Federal Bureau of Investigation (2018);

(12)   Health and Human Services, Office of Inspector General, National
       Cooperative Achievement Award (2018);



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      (13)   Nominated: DOJ Attorney General Award (2018);

      (14)   FBI Citation for Special Achievement (2019), with respect to supervisory
             work as the Acting Supervisory Special Resident Agent (A/SSRA) for
             the PRA;

      (15)   FBI Citation for Special Achievement (2020);

      (16)   Nominated: FBI Director’s Award (2020);

      (17)   Nominated: DOJ Attorney General Award (2020); and

      (18)   Nominated: DOJ Attorney General Award (2020).


                           FACTUAL ALLEGATIONS

                    DISCRIMINATION BECAUSE OF SEX

                      SA Muldrow Applies for Squad 10 SSA

30.   In May 2019, Special Agent Muldrow applied for the Squad 10 SSA position

that had been posted as Flex by the previous Tampa Field Division SAC, which

allowed Special Agent Muldrow to compete on an equal footing (as a Tier I candidate)

with candidates from FBIHQ. Twenty-two people applied for the Squad 10 SSA

position.

31.   Such a position is managed by policies and procedures governing SA midlevel

management selections and development known as the Special Agent Midlevel

Management Selection System (SAMMS) Policy Guide.

32.   The SAMMS Policy Guide, Section 3. Policies section stations that, “SA

candidate for midlevel (GS-14/GS-15) positions must be selected for advancement




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based on merit, in a fair and equitable manner, and through the use of a standard

application process and rating system.”

33.   The SAMMS Policy Guide provides that a Local Career Board (“LCB”) shall

be convened for each position where the voting members rate all examples for all

competencies for all candidates prior to convening the LCB, conduct interviews of the

selected candidates applying specific guidelines including the requirements that all

interviews be assessed using anchors, and following the interviews rank as many

candidates as are deemed qualified.

34.   Acting Special Agent in Charge (“ASAC”) Kristin Rehler served as the

Chairperson (a non-voting member) for the LCB for the Squad 10 SSA position, chose

the members of the LCB that would vote on this promotion, and selected the questions

to be asked during the interview.

35.   ASAC Rehler selected the then-serving Squad 10 SSA (A.S.) to serve on the

LCB, along with two other supervisors. SSA A.S. had supervised Squad 10 for

approximately seven years and played a key role in the decision-making process

regarding his successor.

36.   The LCB rated Special Agent Muldrow as the number one ranked candidate.

The Core Competencies for this position, each with two examples, were: (1)

Leadership; (2) Problem Solving/Judgment; (3) Collaboration; and (4) Organizing

and Planning. A Secondary Competency was Criminal – White Collar Crime.

37.   Special Agent Muldrow received three exemplary votes (which are rare);

fourteen skilled votes; and thirteen competent votes. In the two Leadership


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Competency examples, Special Agent Muldrow received five competent votes and one

skilled vote, resulting in a competent rating in Leadership.

38.   ASAC Rehler and SSA A.S. had a pre-selected, favored male candidate (“J.B.”)

for the Squad 10 SSA position and they both knew that J.B. worked at FBIHQ.

39.   SSA A.S. told Special Agent Muldrow that he had spent hours rewriting J.B.’s

FD-954, because it never would have worked for the Squad 10 posting and SSA A.S.

told another agent that he had written J.B.’s FD-954.

40.   The FD-954 is the only (and therefore a critical) document upon which a

candidate is ranked by the LCB and ranking determines whether a candidate will be

interviewed.

41.   Even though SSA A.S. participated in writing J.B.’s FD-954, he also

participated as a voting member on the LCB in violation of FBI policy and Federal

Merit System Principles against favoritism, impropriety, and appearance of

impropriety.

42.   Although SSA A.S. knew that Special Agent Muldrow was competing for the

Squad 10 SSA position, SSA A.S. told another agent that his replacement would come

from outside the division – hence, SSA A.S. believed that Special Agent Muldrow

would not be his replacement.

43.   Specifically, during the active posting period for the Squad 10 SSA position, but

before the interview and final rankings, another FBI agent asked SSA A.S. when he

would step down from the position. SSA A.S. said that he would step down in

November 2019, in order to give his replacement time to transfer to the Tampa


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Division. The agent then questioned in his/her mind how SSA A.S. knew that the

replacement would not be Special Agent Muldrow.

44.   Before the interview, ASAC Rehler told Special Agent Muldrow that SSA A.S.

would likely be an observer for the Squad 10 SSA position. Neither ASAC Rehler nor

SSA A.S. advised Special Agent Muldrow that SSA A.S. would be a voting member

of the LCB that would select the candidate for SSA A.S.’s position.

45.   The LCB ranked Special Agent Muldrow as the number one candidate. As the

number one ranked candidate, Special Agent earned an interview before the LCB. On

July 11, 2019, Special Agent Muldrow interviewed for the Squad 10 SSA position

before ASAC Rehler’s LCB, which included SSA A.S. and two other supervisors as

voting members.

46.   Two other candidates, including J.B., interviewed for the SSA position,

meaning J.B. would have ranked number two or three. After the interview, ASAC

Rehler contacted FBIHQ to discuss un-ranking Special Agent Muldrow and the other

two candidates. The pretextual and improper justification ASAC Rehler used to un-

rank Special Agent Muldrow was a purported lack of leadership skills.

47.   On August 7, 2019, the SAMMS Board for the Squad 10 SSA position met and,

later that day, ASAC Rehler contacted Special Agent Muldrow by telephone to advise

her that she had not been selected for the position.

                             Reposting of Squad 10 SSA

48.   On or about Monday, August 19, 2019, SAC McPherson asked Special Agent

Muldrow to come to his office. During this meeting, SAC McPherson addressed


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Special Agent Muldrow’s allegation involving SSA A.S.’s substantial re-writing of

J.B.’s FD-954, stating that there was nothing wrong with SSA A.S. having “helped”

J.B. on his FD-954 (Special Agent Muldrow alleged that SSA A.S. had done much

more than merely “help”). SAC McPherson did not address the appearance of

impropriety and the inherent conflict of interest in SSA A.S. serving on the LCB.

49.   SAC McPherson told SA Muldrow that he decided to post the Squad 10 SSA

position as Non-Stationary, saying that he was a “Non-Stationary guy”, meaning that

he did not believe in Flex postings and that the job would be re-posted as Non-

Stationary -- not Flex. In response, SA Muldrow advised SAC McPherson that she

intended to file a formal appeal with FBIHQ and would do so the next week.

50.   The effect of re-posting the position as Non-Stationary was that Special Agent

Muldrow would automatically be ranked as a Tier II candidate.

51.   The FBI Tiering Policy for Field SSA positions directly impacts on the ranking

of candidates. Specifically, all qualified Tier I candidates must be ranked higher than

qualified Tier II and Tier III candidates, regardless of ratings. This Tiering Policy

results from the manner in which the promotion is posted. An SSA position posted as

Stationary results in a preference for field agents from the Division where the vacancy

exists, who are Tier I candidates, while FBIHQ SSA candidates are ranked as Tier II

candidates. An SSA position posted as Non-Stationary must rank a candidate from

FBIHQ as a Tier I candidate, while an agent in the field must be ranked as a Tier II

candidate. If an SSA position is posted as Flex, both FBIHQ and field agents from the




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office where the vacancy exists are both treated as Tier I candidates. See SAMMS

Policy Guide, Section 5.2.2.9.5. (Applying the Tiering Policy to Field SSA Positions).

52.   There is no requirement for promotion to a Field EDSP GS-14 SSA or Term

SSRA position that a special agent have served at FBIHQ, including no requirement

that a special agent have worked at FBIHQ for any period of time on a temporary duty

travel (TDY) assignment.

53.   On August 22, 2019, Tampa Division Executive Management (hereinafter

“EM”) re-posted the Squad 10 SSA position as Non-Stationary.

54.   Tampa Division EM’s re-posting the Squad 10 SSA position as Non-Stationary

ensured that Special Agent Muldrow would be a Tier II candidate and not competitive

with Tier I candidates from FBIHQ, such as J.B. -- the pre-selected, favored male

candidate.

55.   Upon information and belief, after J.B. was unranked during the first promotion

selection process, ASAC Rehler encouraged J.B. (indirectly through J.B.’s supervisor)

to reapply for the job with the expectation and encouragement that J.B. would do

better the second time.

56.   Notwithstanding the fact that Special Agent Muldrow was the number one

ranked candidate during the first LCB, Tampa Division EM intentionally retaliated

and discriminated against Special Agent Muldrow by re-posting the Squad 10 SSA

position as Non-Stationary for her protected activity and was also based on

discrimination based on Special Agent Muldrow’s sex and parental status.




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57.    ASAC Rehler and SSA A.S.’s pre-selected, favored male candidate (J.B.) re-

applied for the Squad 10 SSA position and, because J.B. was at FBIHQ, J.B. became

a Tier I (preferred) candidate.

                        SA Muldrow Applies for Squad 9 SSA

58.    On or about October 7, 2019, Tampa Division EM posted Job Number

20191232 for the Squad 9 SSA position as Flex. Tampa Division EM posted the job

as Flex to allow the pre-selected, favored male candidate (R.B.), to be competitive for

this job.

59.    Tampa Division EM’s posting of the Squad 9 SSA position as Flex directly

contradicts with SAC McPherson’s claim that he is a “Non-Stationary guy.” This Flex

posting further demonstrates the retaliatory nature of the Non-Stationary re-posting of

the Squad 10 SSA position and the disparate, discriminatory treatment of Special

Agent Muldrow when compared to pre-selected, favored male candidates.

60.    ASAC Rehler served as the Chairperson for this LCB and as the minority LCB

representative because Special Agent Muldrow was a minority (female) candidate. At

the time of this LCB, ASAC Rehler served as R.B.’s direct supervisor.

61.    Ten candidates applied for the Squad 9 SSA position, including Special Agent

Muldrow. ASAC Rehler’s LCB artificially rated R.B.’s FD-954 extremely high. ASAC

Rehler’s LCB then set a high bar to qualify applicants for the interview. Due to R.B.’s

artificially high LCB scores and the high bar set to qualify for an interview, R.B. was

the only candidate ranked and interviewed for this position out of ten applicants.




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62.   The SAMMS board rules recommend that three candidates be interviewed for

an SSA position. As the only candidate ranked and interviewed, Tampa Division EM

assured that their pre-selected, favored male candidate, R.B., would be awarded the

Squad 9 SSA position.

      DISCRIMINATION BASED ON DISPARATE IMPACT THEORY

63.   After being ranked as the number one candidate for the Squad 10 SSA

position in August 2019, and later being told that the SAMMS Board had not

selected Special Agent Muldrow for the position, ASAC Rehler called Special Agent

Muldrow to inform her that she was not selected telling Special Agent Muldrow,

among other things, the following:

      a.    ASAC Rehler told Special Agent Muldrow that while she was the

      number ranked applicant before the interview, she did not get the job because

      she failed to demonstrate leadership in the interview.

      b.    Special Agent Muldrow asked ASAC Rehler what anchors she used

      when she decided that Special Agent Muldrow lacked leadership in the

      interview and ASAC Rehler said that she did not use anchors nor did she need

      to in an interview;

      c.    Special Agent Muldrow told ASAC Rehler that, if she did not use

      anchors in the interview, the determination that Special Agent Muldrow failed

      to demonstrate leadership was subjective [and hence improper and in violation

      of FBI policies] and not objective;




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d.    ASAC Rehler told Special Agent Muldrow that training agents to work

cases was not leadership and that managing people was leadership;

e.    Significantly, ASAC Rehler told Special Agent Muldrow that people

make choices and unsolicited brought up the fact that she knew that Special

Agent Muldrow had “family commitments,” but that Special Agent Muldrow

had made a choice.

f.    ASAC Rehler said that she had told Special Agent Muldrow that she

needed to do a TDY to FBIHQ [in Washington, DC] when she met with Special

Agent Muldrow a few months ago.

g.    Special Agent Muldrow told ASAC Rehler that she could not do a TDY

because she could not get child care.

h.    Special Agent Muldrow told ASAC Rehler that the agent recently

awarded the SSRA position at PRA did not do a TDY but was still promoted

and ASAC Rehler said that it was a different job and a different board (LCB).

i.    ASAC Rehler stated that she had told Special Agent Muldrow in the past

that she needed leadership experience, and, in that context, said she had told

Special Agent Muldrow that she needed to do a TDY at FBIHQ.

j.    ASAC Rehler told Special Agent Muldrow that the position would be re-

posted but was unsure how it would be reposted. Special Agent Muldrow

advised ASAC Rehler that if the position was re-posted as Non-Stationary it

would make her non-competitive (because she would be classified as a Tier II




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      Candidate). SA Muldrow further expressed to ASAC Rehler her concern that

      Tampa Division EM intended to do just that.

64.   It is more difficult for female FBI agents who have minor children to leave their

family to work for extended periods of time on TDYs at FBIHQ in Washington, D.C.

than it is for male FBI agents to do so. ASAC Rehler used this practice to discriminate

intentionally against SA Muldrow by requiring Special Agent Muldrow to complete a

TDY before being promoted.

65.   This policy, requiring female agents, including Special Agent Muldrow, to do a

TDY at FBIHQ or a more permanent transfer to FBIHQ, has a disparate impact on

female agents. Bureau of Labor Statistics data supports this conclusion, as summarized

in its April 18, 2019, News Release. That data reflects that, in 2018, in married couple

families, only 5.8% of the time did the mother and not the father work. By contrast, in

24.1% of married families, only the father worked.

66.   When an FBI agent’s spouse does not work, that agent can more easily take a

TDY or assignment to FBIHQ while the non-working spouse stays in the district with

their minor children.

67.   ASAC Rehler and SSA A.S. were aware, during the period that Special Agent

Muldrow was applying and competing for the Squad 10 SSA position, that Special

Agent Muldrow’s husband would likely be relocating to Puerto Rico to take a position

with the U.S. Attorney’s Office in Puerto Rico. ASAC Rehler and SSA A.S. knew that

Special Agent Muldrow would remain in Tampa with her minor children.




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68.   It is more difficult for female FBI agents, such as Special Agent Muldrow, who

have minor children to transfer to FBIHQ in Washington, D.C.

69.   FBI promotional policies provide for greater potential for agents to compete for

and earn promotions if they are assigned to work at FBIHQ.

70.   Tampa Division EM later re-posted the Squad 10 SSA position as Non-

Stationary. Pursuant to FBI policy, a Non-Stationary posting gives preferential (Tier

I) treatment to agents working at FBIHQ. A Non-Stationary posting makes it virtually

impossible for local (e.g., Tampa-based) agents, like Special Agent Muldrow, to

compete for SSA positions posted as Non-Stationary.

71.   FBI policy regarding Non-Stationary SSA postings, by itself, and as applied, has

a disparate impact on female special agents and, in fact, had a discriminatory and

disparate impact on Special Agent Muldrow’s ability to compete for and earn a

promotion, including for the Squad 10 SSA position.

72.   Tampa Division EM’s decision to re-post the Squad 10 SSA position as Non-

Stationary, thereby giving preferred status to FBIHQ agents, had a discriminatory and

disparate impact on Special Agent Muldrow based on her sex and parental status.

73.   The FBI, through the discriminatory actions of ASAC Rehler, sought to compel

Special Agent Muldrow to make a choice, as the primary, maternal caregiver for her

minor children, between caring for her minor children and working away from her

family on a TDY as a necessary precondition for being promoted.




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74.   ASAC Rehler improperly considered Special Agent Muldrow’s failure to take a

TDY as a negative factor when un-ranking Special Agent Muldrow. These actions

constitute sex discrimination.

75.   ASAC Rehler’s considering Special Agent Muldrow’s failure to take a TDY in

un-ranking her for the Squad 10 SSA position violated SAMMS policy. SAMMS

policy, Section 5.2.2.9.6. (Prohibited Activities), states that “[E]valuation of

candidates on any factor not included in the job posting” is an action that is

“prohibited by LCBs”.

76.   Additional Flex postings, listed below, involving ASAC Rehler and Tampa

Division EM took place before and after the Non-Stationary re-posting of the Squad

10 SSA position. Those Flex postings support and corroborate Plaintiff’s allegations

of Tampa Division EM’s pattern and practice of violating and manipulating the

SAMMS Policy Guide in the promotion practices of SSAs to achieve the desired result

of promoting pre-selected, favored male candidates.

      a.     In or about 2018, Tampa Division EM posted Job Number 20180285 as

      Flex to allow a favored, pre-selected male Tampa candidate, R.M., to be

      competitive for the Squad 7 SSA position. The LCB rated R.M. second in this

      LCB. ASAC Rehler previously supervised R.M. and served as Chairperson on

      this LCB. After R.M. did not place number one in the LCB ranking, upon

      information and belief ASAC Rehler used her influence and recommended that

      the job be awarded to R.M. (the number two ranked, less qualified candidate).




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      b.    In or about 2019, Tampa Division EM posted Job Number 20190580 as

      Flex to allow a favored, pre-selected male Tampa candidate, K.T., to be

      competitive for the ORA3 SSA position. Tampa Division EM awarded K.T.

      this SSA position.

      c.    In or about late 2019 or 2020, Tampa Division EM posted Job Number

      20200425 as Flex to enable the pre-selected, favored Tampa candidate, N.N.,

      to be able to compete for this job. ASAC Rehler supervised N.N. prior to his

      application for this position and Tampa Division EM awarded N.N. this Term

      Regional OCDETF Coordinator GS-14 Non-EDSP position.

                                 RETALIATION

77.    Special Agent Muldrow engaged in protected EEO activity under Section 704

of Title VII when she reported and filed complaints about ASAC Rehler’s

discrimination against her to officials in her chain of command and to the OEEOA.

                             Protected EEO Activity

78.   On August 7, 2019, Special Agent Muldrow engaged in protected activity when

she orally advised ASAC Rehler that she (ASAC Rehler) had not followed FBI policy

in the interview and Squad 10 SSA selection process.

79.   On or about Monday, August 12, 2019, Special Agent Muldrow again engaged

in protected activity when she met with FBI Special Agent in Charge of the Tampa

Field Division, Michael McPherson.




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80.   During that meeting, Special Agent Muldrow told SAC McPherson that ASAC

Rehler’s LCB and the selection process for the Squad 10 SSA position had been fraught

with violations of the SAMMS Policy Guide.

81.   SA Muldrow catalogued to SAC McPherson a series of violations including,

but not limited to: (a) ASAC Rehler’s LCB not following SAMMS policy in the

interview assessment and (b) favoritism and the appearance of impropriety.

82.   The SAMMS policy violations included ASAC Rehler’s failure to use anchors

during the interview and improperly weighing the leadership competency.

83.   Allegations of improper favoritism and appearance of impropriety included the

fact that SSA A.S. had spent hours writing the FD-954 for the pre-selected, favored

male candidate (J.B.), but still served as a voting member on the LCB.

84.   Upon information and belief, SAC McPherson and ASAC Rehler discussed

Special Agent Muldrow’s allegations regarding ASAC Rehler’s failure to follow

SAMMS policies during the first Squad 10 SSA LCB and the favoritism and

appearance of impropriety and also discussed how the Squad 10 SSA position would

be reposted, resulting in it being posted as Non-stationary.

                                    SBAC Appeal

85.   On or about Monday, August 26, 2019, Special Agent Muldrow filed a formal

appeal with the SAMMS Board Appeal Committee (SBAC) at FBIHQ.

86.    The SBAC appeal raised the same issues regarding ASAC Rehler’s failure to

follow SAMMS policies in the LCB for the Squad 10 SSA position and the favoritism




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and appearance of impropriety regarding SSA A.S.’s writing of the FD-954 for one of

the candidates for the position and serving as a voting member on the LCB.

87.    Also, on or about August 26, 2019, Special Agent Muldrow delivered a large

binder containing a courtesy copy of the formal SBAC appeal to the office of SAC

McPherson -- ASAC Rehler was standing outside SAC McPherson’s office. In the

presence of ASAC Rehler, SA Muldrow placed the binder containing the formal

SBAC appeal on the desk of SAC McPherson’s secretary.

88.   Upon information and belief, ASAC Rehler was aware of the fact that SA

Muldrow had previously advised SAC McPherson of her intent to file a formal

complaint regarding ASAC Rehler’s violations of SAMMS policies and other

violations relating to the Squad 10 SSA LCB and SAC McPherson would have advised

ASAC Rehler that SA Muldrow had filed the formal SBAC appeal, and the contents

of that appeal.

89.   After filing the SBAC appeal, Special Agent Muldrow communicated with the

Leadership Selection Unit Chief with respect to her formal appeal containing her

protected disclosures and inquired regarding the status of the appeal.

90.   As of the date of the filing of this complaint, Special Agent Muldrow has not

received any notification that the FBI has adjudicated her formal appeal. The failure

to adjudicate Special Agent Muldrow’s formal SBAC appeal constitutes a violation of

FBI policies and further retaliatory action.

                                     EEO Activity




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91.   Special Agent Muldrow first made an EEO Complaint on September 12,

2019. Following the initial EEO Complaint, Special Agent Muldrow faced

retaliation by ASAC Rehler.

92.   On January 16, 2020, Special Agent Muldrow timely notified EEO Counselor

Williams of continued retaliatory action taken by ASAC Rehler, unknown members

of an LCB, and SAC McPherson.

93.   A second formal EEO Complaint for retaliation based on her prior EEO

activity was filed on February 24, 2020.

94.   A third EEO Complaint was initiated on June 12, 2020 for continued

discrimination and retaliation.

                           Continued Acts of Retaliation

95.   Multiple actions have been taken against Special Agent Muldrow following her

initial EEO activity are described as follows:

      a.     In March 2020, shortly after becoming A/SSA, Special Agent Muldrow

      demonstrated leadership by reaching out to federal, state, and local law

      enforcement partners to create a new Middle District of Florida COVID-19

      Fraud Working Group (“COVID Task Force”) and served as the main point of

      contact (POC) on behalf of the FBI.

      b.     On or about March 23, 2020, at 11:15 p.m., Special Agent Muldrow sent

      a group email to the COVID Task Force to announce to the new group that the

      group’s first telephonic meeting was scheduled to take place in less than forty-

      eight hours.


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c.    The next day, ASAC Rehler chastised Special Agent Muldrow for

sending out an email after 8:00 p.m. and instructed Special Agent Muldrow that

she was not to send out emails before 8:00 a.m. or after 8:00 p.m. This

unprecedented email restriction negatively affected Special Agent Muldrow’s

ability to do her job amid a historic worldwide pandemic.

d.    Following Special Agent Muldrow’s request for review of ASAC

Rehler’s email restrictions, SAC McPherson allowed Special Agent Muldrow

to send emails as she determined appropriate

e.    ASAC Rehler’s directive limiting the time that Special Agent Muldrow

could send work-related emails constitutes petty retaliatory action against

Special Agent Muldrow for her protected activity.

f.    On or about March 26, 2020, ASAC Rehler denied Special Agent

Muldrow’s request for authorization to seek funding from Tampa or FBIHQ

Health Care Fraud Unit (HCFU) to purchase Microsoft Office for $249.99 for

her HCF laptop in order to facilitate her work for the COVID Task Force.

g.    Following Special Agent Muldrow’s request for review of ASAC

Rehler’s denial, SAC McPherson allowed Special Agent Muldrow to request

funding for the purchase of the needed software.

h.    ASAC Rehler’s denial of Special Agent Muldrow’s request for funding is

another example of petty retaliatory action against Special Agent Muldrow for

her protected activity.




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      i.     Although Special Agent Muldrow had been serving as the FBI POC for

      the COVID Task Force in Tampa and had applied to serve in that role moving

      forward, on or about March 30, 2020, ASAC Rehler awarded that position to

      someone else.

      j.     ASAC Rehler’s removal of Special Agent Muldrow from her role as the

      FBI POC for the COVID Task Force and awarding that position to someone

      else constitutes retaliatory action against Special Agent Muldrow for her

      protected activity.

96.   At the beginning of the COVID-19 pandemic, the FBI created a policy where

individuals could “self-identify” allowing special agents and other FBI personnel to

opt-out of going to their respective FBI office due to health concerns for themselves or

others in their family related to COVID-19. Special Agent Muldrow initially went on

the “self-identify” status due to living with her elderly mother-in-law with underlying

health conditions. In early July 2020, Special Agent Muldrow advised her supervisor

that she intended to return to “self-identify” status, relating to the COVID-19

pandemic as numbers were rising in Florida. ASAC Rehler responded that FBI policy

“has been very clear that [she could] not self-identify for a second time. Special Agent

Muldrow later confirmed that there was no prohibition against SA Muldrow returning

to “self-identify” status as ASAC Rehler indicated. ASAC Rehler’s instruction that

Special Agent Muldrow was not entitled to return to “self-identify” status constitutes

retaliatory action against Special Agent Muldrow for her protected activity.




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97.    In early July 2020, Special Agent Muldrow sought and received approval from

Tampa Division EM to work for a 30-day period on a Specialty TDY to support the

FBI San Juan Office in Puerto Rico (Special Agent Muldrow’s spouse has been

working in San Juan since October 2019 and Special Agent Muldrow was seeking a

TDY in Puerto Rico so that she, her children, and her mother-in-law could be near her

spouse and in an area better controlled during the COVID-19 pandemic). The earliest

the TDY could begin would be July 8, 2020. On July 9, 2020, the Tampa Division

backdated the start date of the TDY to July 6, 2020, and denied a travel day to return

to Tampa, thereby shortening the TDY. Tampa Division EM’s shortening of the

authorized 30-day TDY period and denial of a travel day constitute retaliatory action

against Special Agent Muldrow for her protected activity.


                           FIRST CLAIM FOR RELIEF
                Violation of Title VII of the Civil Rights Act of 1964
                     (Disparate Treatment on the Basis of Sex)

98.    Plaintiff repeats and realleges the allegations contained in paragraphs 11

through 97, inclusive, as if set forth fully herein.

99.    The discriminatory action described herein violated Plaintiff’s rights protected

by § 704(a) of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-

3.

100. ASAC Rehler and members of FBI EM have subjected Plaintiff to different

treatment because of and on the basis of her sex. The intentional gender discrimination

in the terms and conditions of Plaintiff’s employment including the denial of job



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promotions has allowed the FBI to continually promote the favored pre-selected male

over a female.

101. As a result of this conduct, Plaintiff has suffered harm, including, but not limited

to, lost earnings, lost future employment opportunities, and other financial loss, as well

as non-economic loss.


                          SECOND CLAIM FOR RELIEF
                 Violation of Title VII of the Civil Rights Act of 1964
                        (Disparate Impact on the Basis of Sex)

102.   Plaintiff repeats and realleges the allegations contained in paragraphs 11

through 101, inclusive, as if set forth fully herein.

103. The discriminatory actions described herein constitute a violation of Title VII

of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.

104. ASAC Rehler, among other FBI EM, has discriminated against women, and

the Plaintiff in particular, by maintaining uniform policies and practices that have a

disparate impact on women.

105. The FBI’s policy and/or practice of permitting selecting officials to ignore the

SAMMS Board Policy Guide, and the policy and/or practice of allowing selecting

officials to designate SSA jobs as stationary, non-stationary, or flex without legitimate

business reasons, and without establishing or enforcing rules on this practice produces

an unjustified disparate impact on women, particularly on Plaintiff, with respect to the

terms and conditions of her employment.




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106. As a result of the disparate impact of these policies, Plaintiff has been treated

differently from and less preferentially than similarly situated male employees with

respect to job assignments, promotions, and responsibilities.

107. As a result of this conduct, Plaintiff has suffered harm, including but not limited

to, lost earnings, lost future employment opportunities, and other financial loss as well

as non-economic loss.


                           THIRD CLAIM FOR RELIEF
                Violation of Title VII of the Civil Rights Act of 1964
             (Intentional Retaliation in Response to Protected Activity)

108. Plaintiff repeats and realleges the allegations contained in paragraphs 11

through 90, inclusive, as if set forth fully herein.

109. The retaliatory action described herein violated Plaintiff’s rights protected by

§ 704(a) of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-

3.

110. Plaintiff engaged in protected activity when she reported violations of Title VII

to supervisors in her chain of command, to supervisory agents at FBIHQ, and to the

OEEOA (Office of Equal Employment Opportunity Affairs) within the FBI.

111. Plaintiff engaged in protected activity when she appealed the SAMMS Board

decision to unrank her despite being the number one ranked candidate with the

SAMMS Board Appeal Committee.

112. Plaintiff engaged in protected activity when she filed multiple EEO Complaints.




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113. In retaliation for the above stated protected activity, ASAC Rehler unranked

Plaintiff from consideration for the Squat 10 SSA position, participated in reposting

the position as Non-Stationary (making Plaintiff a Tier II candidate instead of a top

ranked candidate), selected her favored, male candidate for the Squad 9 SSA position,

precluded Plaintiff from serving as the Acting Supervisory Special Agent, and

committed other retaliatory actions against Plaintiff.

114.   There was a causal connection between Plaintiff’s complaints and the materially

adverse actions taken against her.

115.   ASAC Rehler retaliated against Plaintiff for engaging in protected activity in

violation of 42 U.S.C. 2000e-3(a).

116. As a result of this conduct, Plaintiff has suffered harm, including, but not limited

to, lost earnings, lost future employment opportunities, and other financial loss, as well

as non-economic loss.


                        EMOTIONAL AND OTHER HARM

117. The conduct described above caused Plaintiff emotional and other forms of

harm proximately caused by the FBI’s discriminatory and retaliatory conduct.

                               PRAYER FOR RELIEF

118.         WHEREFORE, Plaintiff requests the following relief:

             a. Enter a declaratory judgment that the practices complained of in the

                 Complaint are unlawful and violate Title VII of the Civil Rights Act

                 of 1964, 42 U.S.C. § § 2000e, et seq.;


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             b. An award of all damages that Plaintiff has sustained as a result of the

                Federal Bureau of Investigation’s conduct, including back pay, front

                pay, general and special damages for lost compensation and job

                benefits they would have received but for the discriminatory practices

                of the Federal Bureau of Investigation;

             c. An award of a Supervisory Special Agent position (Field EDSP GS-

                14) in the Tampa Field Division;

             d. An award of compensatory damages for emotional distress that

                Plaintiff has sustained;

             e. Costs incurred, including reasonable attorneys’ fees, to the extent

                allowable by law;

             f. Pre-Judgment and Post-Judgment interest, as provided by law; and

             g. Such other and further legal and equitable relief as this Court deems

                necessary, just, and proper.

This the 15th day of October 2020.


                                                Respectfully submitted,

                                                /s/ David J. Shaffer, Esq.
                                                David J. Shaffer
                                                D.C. Bar Number 413484

                                                /s/ Kelley Brooks Simoneaux, Esq.
                                                Kelley Brooks Simoneaux
                                                D.C. Bar Number 187844
                                                Admission pending in D.C. District
                                                Court



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                                   David Shaffer Law, PLLC
                                   5012 Aurora Drive
                                   Kensington, Maryland 20895
                                   Phone: 202-210-7424
                                   David.Shaffer@davidshafferlaw.com
                                   Kelley.Simoneaux@davidshafferlaw.c
                                   om

                                   Attorneys for Complainant




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                             JURY TRIAL DEMANDED

Plaintiff demands a jury trial as to all claims so triable.



This the 15th day of October 2020.

                                                  Respectfully submitted,

                                                  /s/ David J. Shaffer, Esq.
                                                  David J. Shaffer
                                                  D.C. Bar Number 413484

                                                  /s/ Kelley Brooks Simoneaux, Esq.
                                                  Kelley Brooks Simoneaux
                                                  D.C. Bar Number 187844
                                                  Admission pending in D.C. District
                                                  Court

                                                  David Shaffer Law, PLLC
                                                  5012 Aurora Drive
                                                  Kensington, Maryland 20895
                                                  Phone: 202-210-7424
                                                  David.Shaffer@davidshafferlaw.com
                                                  Kelley.Simoneaux@davidshafferlaw.c
                                                  om

                                                  Attorneys for Complainant




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